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                                                                          6                              IN THE UNITED STATES DISTRICT COURT
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                                                                                                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   UNITED STATES OF AMERICA,
                                                                         11
United States District Court




                                                                                            Plaintiff,                               No. CR 05-0167 WHA
                               For the Northern District of California




                                                                         12     v.
                                                                         13   EDGAR DIAZ, RICKEY ROLLINS,                            ORDER POSTPONING
                                                                         14   DON JOHNSON, ROBERT CALLOWAY,                          SEVERANCE ISSUE
                                                                              DORNELL ELLIS, EMILE FORT,
                                                                         15   CHRISTOPHER BYES, PARIS
                                                                              RAGLAND, RONNIE CALLOWAY,
                                                                         16   ALLEN CALLOWAY, and REDACTED
                                                                              DEFENDANTS Nos. ONE & TWO,
                                                                         17                 Defendants.
                                                                         18                                             /

                                                                         19          Defendant Ellis’ severance motion (joined in by several defendants) shall be ruled on
                                                                         20   when other, later severance motions based on grounds other than Rule 8 are heard.
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                                                                         22          IT IS SO ORDERED.
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                                                                         24   Dated: June 28, 2006.
                                                                         25                                                   WILLIAM ALSUP
                                                                                                                              UNITED STATES DISTRICT JUDGE
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